                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

  LISA HOLDEN,                             )
                                           )
              Plaintiff,                   )
                                           )
  v.                                       )     No.:   1:19-CV-28-TAV-CHS
                                           )
  UNUM LIFE INSURANCE COMPANY              )
  OF AMERICA,                              )
                                           )
              Defendant.                   )


                                       ORDER

        For the reasons explained in the memorandum opinion entered contemporaneously

  with this order, defendant’s objections [Doc. 31] are OVERRULED, the Court

  ACCEPTS IN WHOLE the R&R [Doc. 30], plaintiff’s Motion for Judgment on the

  Pleadings is DENIED [Doc. 23], and Defendant’s Motion for Judgment on the Record is

  GRANTED [Doc. 21], and judgment shall ENTER for defendant. The Clerk of Court is

  DIRECTED to close this case.

        IT IS SO ORDERED.


                                  s/ Thomas A. Varlan
                                  UNITED STATES DISTRICT JUDGE


   ENTERED AS A JUDGMENT

       s/ John L. Medearis
       CLERK OF COURT




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